t
                              Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 1 of 12 - Page ID#: 320
4




                                                UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF KENTUCKY- LONDON DIV.
                                                     CASE NO.: 6:04-CV-l5 KKC

                                   MICHAEL H. WEISSER                                                        NTIFF

                                   V.                                                       JUN 15 2004
                                   c p HAZARD ASSOCIATES LIMITED                             AT LONOON
                                                                                          LESLIE G.WHITMER
                                   PARTNERSHIP and WAGMART REAL                       CLERK U.S. D I S T R I C ~ ~ D ~ T S
                                   ESTATE BUSINESS TRUST


                                                 MEMORANDUM I N SUPPORT OF MOTION FOR
                                                         SUMMARY JUDGMENT


                                          The Plaintiff, Michael H. Weisser (‘Weisser”), respectfully submits this

                                   memorandum in support of his motion for summary judgment.

                                                                    INTRODUCTION

                                          This action arises from a dispute between the parties concerning competing

                                   contracts. Each of these contracts concerns real property owned by the defendant

                                   CP Hazard Associates Limited (“CPH’) but leased by the defendant Wal-Mart Real

                                   Estate business Trust (“Wal-Mart”), located in Hazard, Kentucky. Wal-Mart’s new

                                   super center is located on the subject property, with Wal-Mart and CPH entering the

                                   subject lease on November 27, 2002. Under this lease, CPH retains the right to sell

                                   the subject property, subject to Wal-Mart’s right-of-first refusal.

                                                                           FACTS

                                          On November 27, 2002, CPH and Wal-Mart entered into a lease agreement

                                   (“the Wal-Mart lease”) in which Wal-Mart leased from CPH certain real estate,
   FARMER,
CELLEY, BROWN,
LLIAMS&BREEDIN(
T D B N E Y S      *T     L * l
m S I ’ r . E E T . P.O. DIAWZRU
NLWN. KENTUQCK 4014.-0490
                         Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 2 of 12 - Page ID#: 321



                             bddings and improvements (“the Demised Premises”), located in Hazard, Perry

                             County, Kentucky. (Wal-Mart lease attached at Exhibit 1). Signtficantly, Wal-Mart

                             prepared the Wal-Mart lease. (See Wal-Mart’s Response to Plaintiffs Request for

                             Admissions with Interrogatory, Request No. 1 at 2; Wal-Mart Answer p. 1, 5‘11

                             Defense, fl 1 compared with amended complaint numerical 7 10).

                                     The Wal-Mart lease provides the following “right of first refusal” to Wal-

                             Mart:

                                     In the event [CPH] enters into an agreement to sell the Demised
                                     Premises to an unrelated third party (said agreement is hereafter
                                     referred to as the “Sales Agreement”), it shall give pal-Mart] a Right-
                                     of-First-Refusal to purchase the Demised Premises, on the same
                                     terms and conditions provided in the Sales Agreement. pal-
                                     Mart] shall have twenty (20) days after receipt of a copy of such
                                     agreement to exercise such right, which pal-Mart] shall do by
                                     executing and delivering to [CPH] an agreement containing the same
                                     business terms and conditions as the Sales Agreement. If pal-
                                     Mart] shall not deliver such executed agreement to [CPK] within such
                                     twenty (20) days, then pal-Mart] shall be deemed to have failed to
                                     exercise such right with respect to the Sales Agreement

                             (Wal-Mart lease at 1, Section 3 2 , I N, p. 19, emphasis added).

                                     On October 28, 2003, Weisser and CPH entered into an Agreement of

                             Purchase and Sale (Agreement of Purchase and Sale at 3), whereby CPH agreed to

                             sell and convey to Weisser the same Demised Premises located in Hazard, Perry

                             County, Kentucky, which were the subject of the Wal-Mart lease. (See CP Hazard’s

                             Responses to Plaintiffs Requests for Admissions, Requests No. 1 at 4; Wal-Mart’s

                             Response to Plaintiffs Second Request for Admissions, Request No. 2 at 5). The

                             Agreement of Purchase and Sale constituted a bonajde offer to purchase as provided
   FARMER,
LELLEY, BROWN,
LLIAMS&BREEDIN(
                             for under the terms of the Wal-Mart lease. Notably, the Areement between Weisser
T O B N E Y I   A T   Lb’l
 PIPTBSmEm I P.0. DUVEBI
NDON. K€iTIWCXY4074M490
                                                                        2
                                     Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 3 of 12 - Page ID#: 322



                                        and CPH references the Wal-Mart lease and specifically r e c o p e s Wal-Mart’s right

                                        of fkst refusal, noting that Wal-Mart was required to make a mirror offer to that of

                                        Weisser, exercising its right of first refusal on the “same business terms and

                                        conditions,” as contained in Weisser’s bonafide offer to purchase from CPH.                  (See
                                        Agreement of Purchase and Sale at 3, Section 12.02, p. 13; Wal-Mart lease at 1,

                                        Section 32,   7 N, p. 19).   Wal-Mart received a copy of the Weisser-CPH contract on

                                        October 31,2003. (Wal-Mart’s Answers to InteEogatory No. 2 at 5).

                                                On November 11, 2003, Wal-Mart tendered to CPH a proposed Purchase

                                        Agreement1       (Purchase Agreement attached at 7).              But Wal-Mart’s proposed

                                        Purchase Agreement does not contain “the same terms and conditions” as the

                                        Agreement of Purchase and Sale between Weisser and CPH, as required by the

                                        option to purchase contained in the Wal-Mart lease.                 Examples of how these

                                        contracts materially differ are as follows:

                                                1.      Wal-Mart’s proposed purchase agreement grants it a sixty (60) day

                                        right-of-inspection, which allows it to withdraw from the contract at any time during

                                        the sixty (60) day period. (Purchase Agreement at 6, p. 13-14,y 31). By contrast, the

                                        Weisser contract does not provide for any inspection, Weisser having unconditionally

                                        accepted the premises and title.

                                                2.      Wal-Mart’s proposed purchase agreement provides that Wal-Mart’s

                                        default under the contract simply allows a cancellation of contract.                   (Purchase


                                        ’ This was Wal-Mart’s only attempted exercise of its option.    CPH’s Response to Weisser’s Second
                                        Requests for Admissions, Request No. 6 (Request: “Admit that Wal-Mart never modified or changed its
   FARMER,                              proposed purchase agreement.” Response: “Denied as stated. It is admitted that Wal-Mart has not
LELLEY, BROWN,
UAMS&BREFDIN(
                                        submitted to CPH an executed, modified or changed Purchase Agreement” Attached as Exhibit 6).
T D B N E Y S       A T    L A 7
r n s T R 6 g I . . P.0. D M W m ,
WON. KENTUCKY40743-0490
                                                                                        3
                           Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 4 of 12 - Page ID#: 323



                               Agreement at 6, p. 6, fl 11). By contrast, the Weisser contract provides that Weisser’s

                               j u e hundnd thousand dolkzr ($500,000.00) good faith deposit (in the form of an

                               irrevocable letter of credit) is forfeited to CPH in the event of Weisser’s default. (See

                               Agreement of Purchase and Sale at 3, p. 11, Section 9.04).

                                       3.       Wal-Mzrt’s proposed purchase agreement requires CPH to make

                               representations regardmg the environmental condtion of the property now and in

                               the future and requires that CPH remain obligated to pay for any costs necessary to

                               remedy any environmental problems. (Purchase Agreement at 6, p. 10, fl 26). By

                               contrast, the Weisser-CPH agreement does not require CPH to make any

                               environmental representations, nor does it place any liability on CPH to remedy any

                               environmental problems, now or in the future.

                                       4.       Under the Wal-Mart proposal, Wal-Mart offers to place j v e hundred

                               thousand dollars ($500,000.00) in the hands of an escrow agent whereas the Weisser-

                               CPH agreement compels Weisser to gve CPH a .five hundnd thousand dollar

                               $500,000.00) Irrevocable letter of credit.* (Purchase Agreement at 6, p. 2,                    7   2.A;

                               Agreement of Purchase and Sale at 3, p. 2, Section 2.00.A). In other words, CPH

                               could immediately draw upon the irrevocable letter of credit whereas it would not

                               have such access to Wal-Mart’s deposit placed with an escrow agent. The parties

                               acknowledge that the contract provided by Wal-Mart to CPH for the purchase was




                               * CPH has admitted that the letter of credit issued by Northern Trust Bank on behalf of Weisser was in a
                               form satisfactory to CPH. See CP Hazard‘s Responses to Plaintiff’s Requests for Admissions at 4, Request
   FARMER,                     No. 2 (response served May 17,2004).
LELLEY, BROWN,
LLIAMSFUBREFDINI
T O B N B Y S AT LA1
FQ-m-s       .
             P.0. D u r n ,
NDON, KENTUCK7 I 0 7 W 4 9 0
                                                                                 4
                             Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 5 of 12 - Page ID#: 324



                                  much less favorable than those within the Weisser-CPH Agreement. palbot dep. pp.

                                  53-54).

                                            On January 14, 2004, Weisser filed this action against CPH and Wal-Mart.3

                                  Weisser’s complaint alleges that he is entitled to a declaration by the court as to the

                                  rights and duties of the parties as based upon the CPH/Wal-Mart lease agreement,

                                  which grants Wal-Mart a right-of-first refusal to purchase the subject property,

                                  provided that it exercised that option to purchase, “on the same terms and conditions

                                  provided in the Sales Agreement,” entered into by the intended purchaser. (Wal-Mart

                                  lease at 1, p. 19       7   32, Section N).         Weisser’s Complaint also seeks specific

                                  performance as to the Agreement of Purchase and Sale that he entered with CPH on

                                  October 28,2003. Furthermore, Weisser seeks to recover the difference between the

                                  now-increased interest rate compared with that he could have received at the time of

                                  the intended closing but for Wal-Mart’s invalid exercise of its option. Finally, Weisser

                                  seeks, pursuant to the contract, to be reimbursed by CPH for his attorney fees

                                  expended in litigating this action.

                                                                            ARGUMENT

                                  1.        Summary Tud-pent Standard

                                          Summary judgment is appropriate “if the pleadmgs, depositions, answers to

                                  interrogatories, and admissions on file, together with the affidavits, if any, show that

                                  there is no genuine issue as to any material fact and that the moving party is entitled



                                   Weisser’s original complaint inadvertently identified CPH Associates Limited Partnership as a defendant,
     FARMER,                      so Weisser filed an amended complaint on January 15, 2004, correcting this error and substituting CP
LELLEY, BROWN,
LLL4MS&BREEDINI                   Hazard Associates Limited Partnership for CPH Associates & Limited Partnership.
T O l N E Y S A T L A 7
 rnUWTBB6T. P a DRIVER.
NDOE. ~ C F X U I ? 4 3 Q 4 9 0
                                                                                     5
                                 Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 6 of 12 - Page ID#: 325



                                    to a judgment as a matter of law.” FS Investments. Inc. v. Asset Guaranty Insurance

                                    &., 196 F. Supp. 2d 491, 496 (E.D. Icy. 2002) (citing
                                                                                    t t -                             477

                                    U.S. 317, 323, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986)). In reviewing a motion for

                                    summary judgment, the “COW must determine whether ‘the evidence presents a

                                    sufficient disagreement to require submission to a jury or whether it is so one-sided

                                    that one party must prevd as a matter of law.”’ Patton v. Bearden, 8 F.3d 343, 346

                                    (6th Cir. 1993) (quoting Anderson v. Libertv Lobbv. Inc., 477 U.S. 242, 251-52, 106 S.

                                    Ct. 2505, 91 L. Ed. 2d 202 (1986)). The evidence, the facts, and any inferences that

                                    may permissibly be drawn therefrom are to be construed in a light most favorable to

                                    the non-moving party. FS Investments, 196 F. Supp. 2d at 496.

                                           Once the moving party has met h s burden, the non-moving party is required

                                    to present sufficient probative evidence in support of its complaint to prevent

                                    summary judgment from being granted. Anderson, 477 U.S. at 249-50. “The mere

                                    existence of a scintilla of evidence in support of the [non-moving party’s] position

                                    d be insufficient; there must be evidence on which a jury could reasonably find for
                                    the [non-moving party].”   M. at 252.
                                    2.    Internretation of Contracts

                                          “The construction as well as the meaning and effect of a legal instrument,

                                    however compiled, is a matter of law for the court.” Morcranfield National Bank v.

                                    Damien Elder & Sons, 836 S.W.2d 893, 895 (Ky. 1992) (citing Equitable Life

                                    h ,
                                     101 F.2d 608 (6“ Cir. 1939)). “In the

   FARMER,
                                    absence of ambiguty a written instrument wiU be enforced strictly according to its
LELLEY, BROWN,
LLIAMS&BREEDIN(
T O R X ‘ B Y S    A T   L A W
RFIIBSTBGET    .ED. DUx%RI!
MION. ~ C K Y 4 0 7 4 3 - 0 4 9 0

                                                                             6
                          Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 7 of 12 - Page ID#: 326



                              terms, and a court wdl interpret the contract’s terms by assigning language its

                              ordinary meaning and without resort to extrinsic evidence.”              Frear v. P.T.A.

                              Industries. Inc., 103 S.W.3d 99, 106 (Ky. 2003) (citing O’Bman v. Massey-Ferrmson,

                              -
                              Inc., 413 S.W.2d 891,893 (Icy. 1966) and Hoheimer v. Hoheimer, 30 S.W.3d 176,178

                              (Icy.2000)).

                                      Wal-Mart failed to properly exercise its right of first refusal. Kentucky law is

                              clear that a prospective purchaser, such as Weisser, has the right to require strict

                              compliance by a lessee in the exercise of the terms in a right of first refusal. Jones v.

                              White SulDhur S ~ r i n Farm.
                                                      ~s    Inc., 605 S.W.2d 38,41 (Ky. App. 1980).

                                      Indeed,   Tones is suikulgly s d a r to the instant action.   In Tones,the owners

                              of a farm, the Joneses, leased the farm to White Sulphur Springs Farm, Inc.

                              (hereinafter ‘White Sulphur’?. White Sulphur’s lease gave it a right of first refusal in

                              the event that the Joneses chose to sell the farm. The Joneses entertained an offer to

                              buy the farm from J.B. Marston, Ji-. White Sulphur attempted to exercise its right of

                              first refusal.   Id.at 39-40.   There were a number of differences between the Marston

                              offer and the White Sulphur response, however. The White Sulphur terms that were

                              at variance with the Marston offer “included a provision allowing substitution of an

                              escrowed cash fund as security on the notes in lieu of a lien on the property itself and

                              a provision nullifying the Joneses’ obligation to make a $4,000.00 payment in lieu of

                              repair of tornado damage.”        Id. at 40.   The Court concluded that these differences

                              were material.    Id.at 41.

    FARMER,
LELLEY, BROWN,
LLIAMS&BREEDIN(
T O P N E T S   A t   L A X
           .
klFm5TKEEr P.0. DRIWERY
NDON, DXlWCKK 10743-0190
                                                                              7
                         Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 8 of 12 - Page ID#: 327



                                     In analyzing whether White Sulphur had properly exercised its right of first

                             refusal, the Court adopted the following rule:

                                     A contract provision giving simply the “right of fitst refusal” (as here),
                                     without any qualifpmg terms, means according to general custom and
                                     practice that the holder has the right to elect to take the property at the
                                     same price and on the same terms .and conditions as those of an
                                     offer by a third person that the owner is willing to accept. The
                                     agreement is not void for farlure to specify definite terms and
                                     conditions of the acquisition, because they will be supplied by the thwd
                                     person’s offer. However, this presupposes that the holder of the right
                                     of first refusal can and will take the property on the same terms and
                                     conditions set out in the thtrd person’s offer. Of course if the holder
                                     of the right of first refusal cannot meet exactly the terms and
                                     conditions of the third person’s offer, minor variations which
                                     obviously constitute no substantial departure should be allowed. . . .
                                     But if a material variation from bona fide terms and conditions
                                     should be necessary the right of refusal will fail as impossible of
                                     performance.

                                     Id. at 41 (quoting Brownies Creek Collieries. Inc. v. Asher Coal Mining Co.,
                                     -

                             417 S.W.2d 249,252 (Icy. 1967)).

                                     The Court noted that the variant terms in the m     e Sulphur offer made it less

                             than Marston’s offer, and thus did not constitute an effective exercise of the right of

                             first refusal.   Tones,605 S.W.2d at 41.
                                     In the instant case, it is clear that the proposal made by Wal-Mart is materially

                             different from the Weisser offer.          As previously outlined, Wal-Mart’s proposal

                             maintains a sixty (60) day right of inspection with the right to withdraw from the

                             contract anytime during the sixty (60) days, while the Weisser contract has no

                             inspection period, Weisser having accepted the premises and the condition of title

                             unconditionally. Second, a default by Wal-Mart under the contract with CPH cancels
    FARMER,
LELLEY, BROWN,               the contract, while the Weisser contract provides that Weisser’s $500,000.00 good
IdJAMSfiBREEDUW
T O B N C Y I   AT   L A X
. m m .P.0 D r u m ,
NDON. PXW’UCXY407U-0490
                                                                           8
                            Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 9 of 12 - Page ID#: 328



                                faith deposit is forfeited to CPH in the event of his own default. Third, the Wal-Mart

                                contract requires CPH to make representations regardmg the environmental

                                c o d t i o n of the property and requires that CPH indemnify Wal-Mart for any costs

                                necessary to remediate environmental problems. The Weisser contract contains no

                                similar obligations for CPH. Finally, Wal-Mart proposes to put $500,000.00 in a

                                deposit or in a letter of credit, but in favor of an estoppel agent. Under the Weisser

                                proposal, Weisser has executed and delivered to CPH a $500,000.00 Irrevocable

                                Letter of Credit.

                                       The differences in the Wal-Mart proposal and the Weisser-CPH agreement are

                                at least as significant as the differences discussed in    Tones, and,   therefore, the

                                hfferences are material. And the variant terms make it inferior to the Weisser

                                Agreement of Purchase and Sale.     Tones,605 S.W.2d 38, 41 (1980).      Further, Wal-

                                Mart’s proposal does not contain the “same terms and conditions” as the Weisser

                                proposal, rendering Wal-Mart’s offer insufficient as a matter of law.

                                       ‘‘~lecausethe exercise of a right of &st refusal obligates a party to enter into

                                and close a deal on the basis of a preexisting offer, any attempt to renegotiate such

                                terms is fundamentally inconsistent with the exercise of a first refusal right.”

                                Seessel Holdines v. Fleminp. Cos.. Inc., 949 F. Supp. 572, 578 (W.D. Tenn. 1996)

                                (emphasis added).

                                       CPH, upon receipt of Wal-Mart’s proposed Purchase Agreement, informed

                                Wal-Mart that its proposal was not acceptable. Nevertheless, Wal-Mart did not

    FARMER,
                                amend the offer.
CELLEY, BROWN,
LLIAMS&BREEDLTM
T O R N E Y S      AT   L A W
FImESM
WON.   ~   ~
               .P.O. DB*aRI’
                C 4074Wl490
                     g  Y

                                                                           9
                       Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 10 of 12 - Page ID#: 329



                                   Wal-Mart apparently did not consider itself “obligate[d] . . . to enter into and

                            close a deal on the basis of [Weisser’s] offer.” Seessel Holdings, 949 F. Supp. at 578.

                            Yet that is the essence of a right of first refusal:

                                   m h e r e the right holder has proffered an alternative or substitute
                                   agreement, the issue of whether a right of first refusal has been
                                   properly exercised is not whether the right holder properly notified the
                                   parties of its intention to enter into a final contract. Merely electing
                                   to exercise a first refusal right is not sufficient if a right holder
                                   subsequently refuses to timely enter into a contract matching the
                                   terms of the third party agreement.

                                   Id. (emphasis added) (citations omitted).
                                   -

                                   Wal-Mart’s proposal was essentially a renegotiation of the Weisser proposal,

                            and failed to match the terms of the Weisser proposal. Because the Wal-Mart

                            proposal materially varied from the Weisser offer, Wal-Mart’s right of first refusal

                            faded as impossible of performance.      Tofles.605 S.W.2d at 41; Brownies Creek, 417
                            S.W.2d at 252. Additionally, no compliant proposal was tendered by Wal-Mart within

                            the twenty-day period called for in the Wal-Mart lease, whch, it must be recalled, was

                            drafted by Wal-Mart.     See P~&amv. W i e h s , 580 S.W.2d 228, 231 (Ky. 1978) (“a
                            contract must be construed more strongly against the party who prepared it“).

                            Consequently, Wal-Mart failed to properly exercise its right of first refusal, and

                            Weisser is entitled to specific performance pursuant to the terms outlined in his

                            agreement with CP Hazard. As such, Weisser is entitled to s u m m a r y judgment. See

                            Tones. 605   S.W.2d at 40, 43 (affirming the judgment of the circuit court, which

                            granted Marston specific performance).

   FARMER,
                                                                    CONCLUSION
LELLEY, BROWN,
LLlAMShBREEDlN
T O R N B T S    AT L A 1
BIPTASTBM   .   PO. DW-4
NDON, KKNTUCKK 4074344YO
                                                                         10
                           Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 11 of 12 - Page ID#: 330



                                        As based on the grounds provided within this memorandum, Weisser should

                                 be granted summary judgment against the defendants. More particularly, the court

                                 should compel CPH to convey the real property to Weisser. By post-judgment filings

                                 and/or hearing, the court should decide the issues regarding interest and attorney

                                 fees. Fieldtorf. Inc. v. Southwest Recreational Industries. Inc., 212 F.R.D. 341, 343

                                 (E.D. Icy. 2003) ('<while&vested of jurisdiction over the substantive matters in a case,

                                 a district court is in the best position to decide certain collateral matters such as fees,

                                 costs, and sanctions). A proposed order accompanies this memorandum.

                                                                      Respectfully submitted,

                                                                      Farmer, ICelley, Brown, Wfisuns & Breeding
                                                                      502 West Fifth Street
                                                                      P.O. Drawer 490
                                                                      London, Kentucky 40743-0490
                                                                      Telephone: (606) 878-7640


                                                              BY

                                                                   ' P         HN F. I(ELLEY, JR.
                                                                              RADFORDL.BREE NG
                                                                            HAROLD F. DYCHE, I1
                                                                                                       Id
                                                                      Counsel for Plaintiff, Michael H. Weisser


                                                            CERTIFICATE OF SERVICE

                                        I hereby certify that the original of the foregoing was tendered for filing by
                                 m a h g same, 'first class postage prepaid to the following:
                                 US. District Court Clerk
                                 310 S. Main Street, Room 215
                                 London, KY 40741

                                        I hereby certify that true and correct copies of the foregoing was served by
                                 mailing same, first class postage prepaid to the following:

ARMER, KELLEY.
ROWN&WILLLAM:
r T D R l l E l S   AT   L A 1




                                                                            11
                              Case: 6:04-cv-00015-KKC Doc #: 24 Filed: 06/15/04 Page: 12 of 12 - Page ID#: 331



                                  John Woodall, Esq.
                                  McBrayer, McGinnis, Leslie & IGrkland, PLLC
                                  State Nat'l. Bank Bldg., Ste. 300
                                  Frankfort, ICY 40602-1 100

                                  W. Craig Robertson, I11
                                  Wyatt, Tarrant & Combs, LLP
                                  250 W. Main Street, Ste. 1600
                                  Lexington, ICY 40507-1746

                                                                        of June 2004.




                                  B L B / c a c wI(MD-1 Memor in Sup ofM o t for SummaryJudgment (Weiaser v. CP Hazard Assoc. Br Wd-Mart)




'ARMER, KELLEY
ROWN&wILLIAD1!
T T O B B I Y S   IT   I.*,




                                                                                                 12
